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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
             v.                                 :   No. 1:93-cr-00418-TFH-4
                                                :   Judge Thomas F. Hogan
JOSE NARANJO,                                   :
                                                :
                          Defendant.            :

GOVERNMENT’S OPPOSITION TO DEFENDANT’S SUPPLEMENTAL MOTION FOR
       COMPASSIONATE RELEASE UNDER 18 U.S.C. § 3582(c)(1)(A)(i)

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully files this Opposition to defendant’s Motion for

Compassionate Release Under 18 U.S.C. § 3582(c)(1)(A)(i) (ECF #635). The defendant asks the

Court to reduce his sentence to time-served and argues that he meets the “extraordinary and

compelling” requirement of the statute since his wife is chronically infirmed and he is her only

potential caregiver. The government opposes the defendant’s motion because 30 days have not

passed since the Warden of the defendant’s facility received the defendant’s request, as required

by statute. Therefore, the defendant’s motion is not properly before the Court and it should

summarily deny the defendant’s motion.

                                       BACKGROUND

       On February 3, 1994, a superseding Indictment was filed against the defendant, charging

him with Conspiracy to Distribute and Possess With Intent to Distribute 5 Kilograms or More of

Cocaine Base, 21 U.S.C. § 846, and Criminal Forfeiture, 21 U.S.C. § 853 (ECF #54). Although

the defendant was incarcerated at the time, he continued to run his drug operation from behind
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bars. 1 While incarcerated, he managed and directed his wife’s actions of buying and selling

cocaine, directed people to establish a cocaine pipeline between Colombia and Washington, D.C.,

recruited cocaine distributors, and sought investors to finance the cocaine operation (PSR ¶¶ 12-

64).

        Because of the defendant’s illegal activities, he was convicted on April 28, 1995 of

Conspiracy to Distribute and Possess with Intent to Distribute 5 Kilograms or More of Cocaine

Base. He was sentenced to a life term and 10 years’ supervised release because he had two prior

convictions for felony drug offenses (ECF #377). On February 15, 2020, the defendant filed his

supplemental motion, asking the Court to reduce his sentence to time-served (ECF #635). The

defendant argues that: (1) his request is properly before the Court as he submitted his

compassionate release request to the Warden where he is currently incarcerated on April 15, 2019

and more than 30 days have passed since the Warden received the request; (2) he meets the

“extraordinary and compelling” standard under 18 U.S.C. § 3582(c)(1)(A)(i) since his wife is

chronically infirmed and he is her only potential caregiver; and (3) such a request is consistent

with applicable policy statements issued by the Sentencing Commission. Although the defendant

claimed that he submitted his compassionate release request to the Warden on April 15, 2019, in

fact, he did not. Rather, he submitted it for the first time on April 8, 2020. For the reasons discussed

herein, the Court should summarily deny defendant’s motion.

                                                ARGUMENT

        Section 3582(c)(1)(A), as amended by the First Step Act of 2018, requires that a request

for compassionate release be presented first to the Bureau of Prisons (“BOP”) for its consideration;


1
 At the time of the offense in this case, the defendant was serving a 26-year sentence after he was convicted of
Conspiracy to Import Cocaine into the United States. While serving time at the Federal Correctional Institution at
Otisville, New York for two previous drug offenses, the defendant negotiated the importation and sale of over 650
pounds of cocaine. See 83-cr-0016-07.

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only after 30 days have passed, or the defendant has exhausted all administrative rights to appeal

BOP’s failure to move on the defendant’s behalf, may a defendant move for compassionate release

in court. The Court should deny the defendant’s motion as it is not properly before the Court

because 30 days have not passed since the Warden of the defendant’s facility received the

defendant’s request, as required by § 3582(c) when seeking compassionate release. The statute

specifies that:

        The court may not modify a term of imprisonment once it has been imposed except
        that-- (1) in any case-- (A) the court, upon motion of the Director of the Bureau of
        Prisons, or upon motion of the defendant after the defendant has fully exhausted all
        administrative rights to appeal a failure of the Bureau of Prisons to bring a motion
        on the defendant’s behalf or the lapse of 30 days from the receipt of such a request
        by the warden of the defendant’s facility, whichever is earlier, may reduce the term
        of imprisonment [in specific circumstances].

§ 3582(c) (emphasis added).

        The requirement that a defendant either exhaust administrative appeals or wait 30 days

after presenting a request to the Warden before seeking judicial relief is mandatory and must be

enforced by the Court. The Third Circuit recently confirmed: where 30 days have not passed

following presentation of a request to a warden, the statute “presents a glaring roadblock

foreclosing compassionate release at this point.” United States v. Raia, -- F.3d --, 2020 WL

1647922, at *2 (3d Cir. Apr. 2, 2020); see also United States v. Gileno, No. 3:19-CR-161-(VAB)-

1, 2020 WL 1307108, at *3 (D. Conn. Mar. 19, 2020) (holding that the Court could not consider

the defendant’s motion to modify his sentence because he had not “satisfied the requirement

under 18 U.S.C. § 3582(c)(1)(A) to first request that BOP file a motion on his behalf and then

show that thirty days have passed without any BOP action”).




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        The defendant argues that this motion is properly before the Court because he fulfilled the

statutory required 30-day period. Def. Mot. at 7. He claims that he submitted a Request for

Compassionate Release Under the First Step Act to the Warden of his BOP facility on April 15, 2019,

that BOP has not officially responded or denied his request, and that he filed his compassionate release

motion with the Court on June 3, 2019, which was more than 30 days after he submitted his reduction

in sentence request to BOP. Id. As proof, he submitted to the Court his request dated April 15, 2019

(ECF #626-2).

        However, upon further review, the defendant submitted an unsigned compassionate release

request form. See id. at 2. The compassionate release request form allegedly submitted to the

Warden was not signed. To determine whether the defendant submitted his request to his facility’s

Warden as claimed and as required by law, the government contacted the defendant’s case

manager, Amy Ruiz. Ms. Ruiz sent the government the defendant’s submitted reduction in

sentence request, which is dated April 8, 2020. See Gov’t Ex. A. As shown by the government’s

Exhibit A, the defendant did not actually submit his request form to the Warden until April 8,

2020.

        The statutorily mandated 30-day period is important and cannot be excused. While

Congress indisputably acted in the First Step Act to expand the availability of compassionate

release, it expressly imposed on inmates the requirement of initial resort to administrative

remedies. And this is for good reason: BOP conducts an extensive assessment for such requests.

See 28 C.F.R. § 571.62(a); BOP Program Statement 5050.50, Compassionate Release/Reduction

in Sentence: Procedures for Implementation of 18 U.S.C. §§ 3582(c)(1)(A) and 4205(g), available

at https://www.bop.gov/policy/progstat/5050_050_EN.pdf. As the Procedures reflect, BOP

completes a diligent and thorough review, with considerable expertise concerning both the inmate

and the conditions of confinement. Its assessment will always be of value to the parties and the

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Court. However, the defendant has not given BOP the opportunity to assess whether the defendant

should be released. As the defendant has not waited the statutorily required 30 days, the

defendant’s motion is not properly before the Court. Therefore, the Court should summarily deny

defendant’s motion.

                                       CONCLUSION

              For the reasons discussed herein, the defendant’s motion should be summarily

denied.

                                                          Respectfully submitted,

                                                          TIMOTHY J. SHEA
                                                          United States Attorney
                                                          D.C. Bar No. 437-437

                                                          T. ANTHONY QUINN
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                                                             /s/ Jared English
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                               CERTIFICATE OF SERVICE

       I HEREBY CE RTI FY that I have caused a copy of the foregoing response to be served
by electronic means, through the Court’s CM/ECF system, upon counsel for defendant, Celia
Goetzl, Esq., Assistant Federal Public Defender, 625 Indiana Avenue, NW, Suite 550, Washington
D.C. 20004, on this 13 day of April, 2019.

                                                  /s/ Jared English
                                           JARED ENGLISH
                                           Assistant United States Attorney


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